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   9
                       IN THE UNITED STATES DISTRICT COURT
  10
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
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  12
       LUIS MONTOYA, JR., an individual,               Case No.: 8:22-cv-01861-FWS-JDE
  13
                           Plaintiff,                  DEFENDANTS’ NOTICE OF
  14                                                   MOTION AND MOTION TO
             v.                                        TRANSFER VENUE PURSUANT
  15                                                   TO 28 U.S.C. §1404(a);
       ARIBA INC., a foreign corporation; SAP          MEMORANDUM OF POINTS
  16   AMERICA, INC., a foreign corporation,           AND AUTHORITIES
       and DOES 1 through 100, inclusive,
  17                                                   DATE:       December 1, 2022
                           Defendants.                 TIME:       10:00 a.m.
  18                                                   DEPT:       10D
  19                                                   JUDGE: Hon. Fred W. Slaughter
                                                       COMPLAINT FILED: Sept. 6, 2022
  20

  21

  22   TO THIS HONORABLE COURT AND TO PLAINTIFF AND HIS
  23   COUNSEL OF RECORD:
  24         PLEASE TAKE NOTICE that on December 1, 2022, at 10:00 a.m., or as
  25   soon thereafter as the matter can be heard, in Courtroom 10D of the United States
  26   District Court for the Central District of California, located at 411 West 4th Street,
  27   Room 1053, Courtroom 10D, Santa Ana, California 92701-4516, Defendants Ariba
  28

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                                                      DEFS. NOTICE OF MOTION AND MOTION TO
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   1   Inc. (“Ariba”) and SAP America, Inc. (“SAP”) will move the Court, and hereby do
   2   move the Court, for an order transferring this action to the Eastern District of
   3   Pennsylvania pursuant to 28 U.S.C. §1404(a).
   4         This Motion is based on the following grounds:
   5         1. The SAP Global Incentive Plan Terms and Conditions for Revenue
   6             Generating Roles (and the Addendum for North America, U.S. and
   7             Canada, thereto) (“GIP”), to which Plaintiff Luis Montoya, Jr.
   8             (“Montoya”) is a party, contains a forum selection clause designating the
   9             Eastern District of Pennsylvania as the venue for disputes arising between
  10             the parties;
  11         2. The forum selection clause is valid;
  12         3. Montoya cannot meet his heavy burden of showing that the Court should
  13             ignore the forum selection clause’s mandate that this action proceed in the
  14             Eastern District of Pennsylvania; and
  15         4. The forum selection clause dictates that all claims asserted in this action
  16             proceed before the court in the Eastern District of Pennsylvania.
  17         This Motion is made following the conference of counsel pursuant to L.R. 7-
  18   3. On October 13, 2022, Defendants’ counsel emailed Plaintiff’s counsel about the
  19   forum selection clause in the GIP and asked whether Plaintiff would agree to
  20   stipulate to the transfer requested in this Motion. Plaintiff’s counsel agreed to meet
  21   and confer on the issue prior to Defendants filing the Motion. On October 17,
  22   2022, counsel for Defendants and Plaintiff held a telephone conference and
  23   discussed the issues in this Motion. Plaintiff’s counsel asked for copies of the GIP,
  24   and on October 24, 2022, Defendants’ counsel sent the 2020, 2021, and 2022 GIPs
  25   to Plaintiff. As of today’s date, Plaintiff has declined to agree to the transfer and
  26   Defendants now proceed in filing this Motion.
  27         This Motion is based on this Notice of Motion and Motion, the
  28   accompanying Memorandum of Points and Authorities in support thereof, the
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   1   declaration of Elizabeth Heck filed in support of Defendants’ Notice of Removal
   2   (ECF Document No. 1-1), the concurrently-filed declarations of Jessica Moreno
   3   Rosales and Susan Vickers, Defendants’ Request for Judicial Notice and Exhibits
   4   thereto, all pleadings, papers and records on file in this action, deemed to be on file
   5   or of which this Court may take judicial notice, and upon such further oral
   6   argument and documentary evidence as may be presented at the time of hearing.
   7   Dated: October 26, 2022                    DUANE MORRIS LLP
   8
                                               By: /s/ Brian L. Johnsrud
   9                                             BRIAN L. JOHNSRUD
                                                 Attorneys for Defendants
  10                                             ARIBA INC. and SAP AMERICA, INC.
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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2   I.    INTRODUCTION
   3         Plaintiff Luis Montoya, Jr. (“Plaintiff” or “Montoya”) and his former
   4   employer Defendant Ariba Inc., a wholly-owned subsidiary of Defendant SAP
   5   America, Inc. (together, “Defendants”), are parties to the SAP Global Incentive
   6   Plan Terms and Conditions for Revenue Generating Roles (and the Addendum for
   7   North America, U.S. and Canada, thereto) (the “GIP”). The GIP contains a forum
   8   selection clause requiring that disputes between the parties, such as the instant one,
   9   be brought in the Eastern District of Pennsylvania. In contravention of the clause,
  10   Montoya filed suit against SAP in Orange County Superior Court, and Defendants
  11   properly removed the action to this Court. Pursuant to 28 U.S.C. §1404(a),
  12   Defendants now move the Court for an Order transferring this action to the Eastern
  13   District of Pennsylvania.
  14   II.   FACTUAL AND PROCEDURAL BACKGROUND
  15         On March 23, 2020, Montoya began working at Ariba Inc. as an SAP Senior
  16   Solution Sales Executive. (Compl., ¶ 10; Declaration of Jessica Moreno Rosales
  17   (“Rosales Decl.”), Ex. D; Declaration of Susan Vickers (“Vickers Decl.”), ¶ 2.)
  18         Following his acceptance of Ariba’s offer of employment, as a member of
  19   SAP’s sales team, Montoya received an email at his work email address with an
  20   electronic link to a copy of the GIP, which made him eligible to earn certain
  21   incentive compensation. (Rosales Decl., ¶¶ 4-5 and Exs. E-H.) Montoya
  22   acknowledged and voluntarily agreed to be bound by the GIP in 2020, 2021, and
  23   2022. (Rosales Decl., ¶¶ 3-6 and Exs. A-H.)
  24         The GIP contains the following, unambiguous forum selection clause:
  25         Any action or proceeding relating to the [GIP], this Addendum and the
             overall Revenue Generating Incentive Plan and to any agreement
  26         relating to the Terms and Conditions, this Addendum and the overall
             Revenue Generating Incentive Plan … will be solely brought in the
  27         courts located in the Commonwealth of Pennsylvania either in the
             United States District Court for the Eastern District of
  28         Pennsylvania or in the Court of Common Pleas of Delaware County
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   1              …
   2   (Rosales Decl., ¶ 2, Ex. A at p. 57 1 (emphasis added); see also Ex. B p. at 59 and
   3   Ex. C at p. 53.) Montoya never asked SAP to remove the forum selection clause
   4   from the GIP, never suggested that he had any question about it (much less any
   5   objection to it), and never sought to negotiate the provision. (Rosales Decl., ¶ 4.)
   6              Defendants dispute that Montoya is entitled to any additional compensation,
   7   commission or any other form of remuneration from it (other than what Defendants
   8   have already paid to him). However, Montoya’s claims in his Complaint relate to
   9   the application of the GIP, its addenda, the overall Revenue Generating Incentive
  10   Plan, and “to any agreement relating to the Terms and Conditions.” See Complaint.
  11   Specifically, Montoya pleads in the Complaint that:
  12              • Defendants allegedly failed to pay Montoya a large commission on a
  13                  particular sales deal (the “First Solar deal”) (resolution of which requires
  14                  application of the GIP’s terms and conditions and related quota and
  15                  booking rules incorporated into Montoya’s commission plan), and related
  16                  waiting time penalties for the alleged failure to timely pay the commission
  17                  (Compl., ¶¶ 12-20, 28-35, 45-50);
  18              • The failure to pay Montoya a large commission on the First Solar deal
  19                  (which was governed by the application of the GIP’s terms and conditions
  20                  and related quota and booking rules incorporated into Montoya’s
  21                  commission plan) was allegedly an unfair business practice (Id., ¶¶ 36-
  22                  44);
  23              • The alleged failure to pay Montoya a large commission on the First Solar
  24                  deal (which was governed by the application of the GIP’s terms and
  25                  conditions and related quota and booking rules incorporated into
  26                  Montoya’s commission plan) allegedly made Montoya’s voluntary
  27

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           This page number refers to the numbers printed at the bottom of the pages in the document.

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   1            resignation a “constructive discharge,” subject to a claim for wrongful
   2            termination (Id., ¶¶ 20, 51-57); and
   3         • Employees of the Defendants allegedly made intentional, fraudulent,
   4            and/or negligent misrepresentations that they did not intend to perform
   5            with regards to a potential commission on the First Solar deal (where
   6            application of the GIP is necessary for resolution of these claims because
   7            the commission plan documents expressly provide that the terms and
   8            conditions of the GIP and related documents govern eligibility for and
   9            calculation of incentive compensation and employees should not rely on
  10            any other assurances) (Id., ¶¶ 16-19, 58-73).
  11         If Montoya were entitled to some additional compensation or commission,
  12   the GIP and related documents would govern its amount, when payment must be
  13   made, and all other associated terms and conditions. (Rosales Decl., ¶¶ 2-6, Ex.
  14   A.) Resolution of Montoya’s unfair business practices, tort, and fraud claims also
  15   relate to the GIP because he asserts that promises were made notwithstanding the
  16   GIP’s controlling terms.
  17         Despite the mandatory Pennsylvania forum selection clause in the GIP and
  18   the fact that principal custodians and individual with knowledge about documents,
  19   data, and records pertaining to Montoya’s compensation and commissions primarily
  20   reside in Pennsylvania, Montoya filed this action, by which he seeks sales
  21   commissions and other relief, in Orange County Superior Court, which Defendants
  22   properly removed to the Central District of California. (Rosales Decl., ¶ 2, Ex. A,
  23   p. 57; Declaration of Elizabeth Heck in support of Defendants’ Notice of Removal
  24   at ECF Document No. 1-1 (“Heck Decl.”), ¶¶ 3-4; Vickers Decl., ¶ 3.)
  25         Thus, consistent with the GIP, Defendants now move to transfer this action to
  26   the Eastern District of Pennsylvania.
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    1   III.    LEGAL ARGUMENT
    2           A.       A Forum Selection Clause Is Enforceable By A Motion To
                         Transfer.
    3

    4           Pursuant to 28 U.S.C. §1404(a), SAP moves this Court to transfer the action
    5   to the Eastern District of Pennsylvania. See, e.g., Atl. Marine Constr. Co. Inc. v.
    6   U.S. Dist. Court for W. Dist. of Texas, 571 U.S. 49, 59 (2013) (holding that a forum
    7   selection clause “may be enforced through a motion to transfer under §1404(a).”) 2
    8           B.       The Forum Selection Clause Is Valid.
    9                    1.      The Forum Selection Clause Is Presumed Valid And
                                 Montoya Cannot Meet His Heavy Burden To Overcome
   10                            This Presumption.
   11           A forum selection clause is presumed valid. M/S Bremen v. Zapata Off-
   12   Shore Co., 407 U.S. 1, 10 (1972). As the Ninth Circuit has explained:
   13           The Supreme Court has identified three grounds for repudiating a
                forum selection clause: first, if the inclusion of the clause in the
   14           agreement was the product of fraud or overreaching; second, if the
                party wishing to repudiate the clause would effectively be deprived of
   15           [his] day in court were the clause enforced; and third, if enforcement
                would contravene a strong public policy of the forum in which the suit
   16           is brought.
   17   Richards v. Lloyd’s of London, 135 F.3d 1289, 1294 (9th Cir. 1998). Thus, [w]hen
   18   a defendant files [a Section 1404(a) motion based upon a forum-selection clause], a
   19   district court should transfer the case unless extraordinary circumstances unrelated
   20   to the convenience of the parties clearly disfavor a transfer.” Atl. Marine Constr.
   21   Co., Inc. v. U.S. Dist. Ct. for W. Dist. Of Tex., 571 U.S. 49, 50-51 (2013). Here,
   22   Plaintiff does not address the forum selection clause at all, much less assert that it is
   23   invalid.
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         While the forum selection clause also allows Montoya to bring suit in the Court of Common Pleas of Delaware
   28   County, given the diversity of the parties, this matter should proceed in Federal Court.

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    1                      a.     The Forum Selection Clause Is Not A Product Of
                                  Fraud Or Overreaching.
    2

    3         “To establish the invalidity of a forum-selection clause based on fraud or
    4   overreaching, Plaintiff must show that the inclusion of that clause in the contract
    5   was the product of fraud or coercion. Overreaching includes conduct short of fraud
    6   involving undue influence or overwhelming bargaining power.” Dolin v.
    7   Facebook, Inc., 289 F. Supp. 3d 1153, 1159 (D. Haw. 2018) (internal citations and
    8   quotations omitted). Plaintiff cannot make this showing.
    9         The inclusion of the forum selection clause in the GIP was not the product of
   10   fraud or coercion. The clause itself is conspicuous. It is located in the Addendum
   11   for North America (found immediately adjacent to the GIP), which specifically
   12   applies to U.S. based employees of Ariba and is only 3 pages long. The clause is
   13   contained in a stand-alone paragraph directly under the bold font headings
   14   “Compliance With Local Laws And Regulations U.S.” Further, the GIP and
   15   addenda, complete with the forum selection clause, was presented to Montoya via
   16   email link to an online portal. The email and the quota letter both instructed
   17   Montoya (in emphasized font) to review the GIP before signing and that his
   18   signature was an acknowledgement that he did read the GIP prior to signing. SAP
   19   did not place any restrictions on how long Montoya could review and consider the
   20   document, and did not demand that he agree to the GIP by any time certain.
   21   (Rosales Decl., ¶¶ 2-5, Exs. E and G.) Montoya thus had unfettered access to the
   22   document, could consider it outside the presence of anyone at SAP and at his
   23   leisure, and cannot credibly claim that the clause was the product of fraud or
   24   coercion.
   25         Montoya may argue that the clause is invalid because it was not the product
   26   of negotiation or because he is unsophisticated relative to SAP. However, such
   27   arguments have been soundly rejected. See, e.g., Wholesale Am. Mort., Inc. v.
   28   Integra Software Sys., LLC, 2008 WL 2774187 , * 1 (N.D. Cal. 2008) (lack of

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    1   education and the fact that an employment contract was not negotiable are
    2   insufficient to overcome the strong presumption in favor of enforcing forum
    3   selection clauses). The argument fails as to Montoya for the additional reason that
    4   Montoya holds himself out to be a “senior account executive” who understood the
    5   need to conduct diligence prior to entering into a contract. (Compl., ¶¶ 10, 14-16.)
    6   Thus, Montoya cannot now claim that he is unsophisticated to avoid the mandate of
    7   the forum selection clause.
    8                      b.     Enforcement Of The Forum Selection Clause Will Not
                                  Deprive Montoya Of His Day In Court.
    9

   10         A plaintiff seeking to avoid compliance with a forum selection clause bears a
   11   “heavy burden” of showing that trial in the designated venue would effectively
   12   deny him a meaningful day in court. Adema Techs., Inc. v. Wacker Chem. Corp.,
   13   657 Fed. Appx. 661, 663 (9th Cir. 2016) (dismissing case to enforce the parties’
   14   forum selection clause which specified Munich, Germany as the forum for
   15   disputes). Montoya cannot meet this heavy burden.
   16         Pennsylvania is the location where both of Defendants’ high-level officers
   17   direct, control, and coordinate Defendants’ activities and where the majority of the
   18   principal custodians of Defendants’ corporate documents, data, and records,
   19   including incentive compensation plans, payroll records, policies, procedures, and
   20   training materials, reside. (Heck Decl., ¶¶ 3-4; Vickers Decl., ¶ 3.) Accordingly,
   21   the principal people with the most knowledge about Montoya’s incentive
   22   compensation and commissions reside and work in Pennsylvania. Id.
   23         Further, the majority of the decision-makers relative to whether Montoya
   24   would receive a commission on the First Solar deal (and the amount of the potential
   25   commission or exception commission) reside in locations farther away from
   26   California than Pennsylvania, including two in Pennsylvania, and one each in
   27   Massachusetts, the United Kingdom, and Sweden. (Rosales Decl., ¶ 7.) All of the
   28   SAP employees and witnesses named by Montoya in his Complaint (other than
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    1   himself) work and reside outside of the Central District of California (in
    2   Pennsylvania, Chicago, Illinois, Miami, Florida, and Palo Alto, California). Id.
    3   The majority of the key decision-makers on SAP’s Compensation Committee also
    4   work and reside outside of California (seven members in Pennsylvania,
    5   Massachusetts, Texas, Colorado, the United Kingdom, and Sweden and only one
    6   member in California). Id. Finally, although Montoya worked “remotely” out of
    7   his residence in Orange County, California, he was himself based in Palo Alto,
    8   California. (Compl., ¶ 4.)
    9         Thus, the Central District of California does not bear a significant
   10   relationship to this dispute, and transferring this dispute to the Eastern District of
   11   Pennsylvania will not deprive Montoya of his day in Court. Indeed, Courts
   12   routinely enforce forum selection clauses even when the designated forum is a
   13   foreign country. See, e.g., Adema Techs., supra; Argueta v. Banco Mexicano, S.A.,
   14   87 F.3d 320, 327 (9th Cir. 1996) (affirming the district court’s upholding of the
   15   forum selection clause, which designated Mexico as the forum for disputes, though
   16   the plaintiff claimed that he would be deprived of a meaningful hearing in Mexico
   17   due to persecution). Accordingly, Montoya cannot show that enforcing the forum
   18   selection clause he agreed to will result in deprivation of his day in court.
   19                       c.     Enforcing The Forum Selection Clause Does Not
                                   Contravene Public Policy, And is Consistent With It.
   20

   21         Public interest “factors will rarely defeat a transfer motion” and the “practical
   22   result is that forum-selection clauses should control except in unusual cases.” Atl.
   23   Marine, 571 U.S. at 64. When parties have agreed to litigate disputes in a
   24   designated form, public policy is served by upholding their agreement:
   25         When parties have contracted in advance to litigate disputes in a
              particular forum, courts should not unnecessarily disrupt the parties’
   26         settled expectations. A forum-selection clause, after all, may have
              figured centrally in the parties’ negotiations and may have affected
   27         how they set monetary and other contractual terms; it may, in fact,
              have been a critical factor in their agreement to do business together in
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    1         the first place. In all but the most unusual cases, therefore, the interest
              of justice is served by holding parties to their bargain.
    2

    3   Atl. Marine at 66 (emphasis added). Nor can Montoya show that a California court
    4   is somehow superior to Pennsylvania in considering his commission (essentially a
    5   contract claim regardless of Montoya pleading the issue as a wage claim), fraud,
    6   and tort claims.
    7         This is not the exceptional case where public policy demands that the dispute
    8   proceed where filed rather than in the forum to which the parties previously agreed.
    9   Rather, this is a single-plaintiff employment dispute raising commission-related
   10   claims commonly made by employees against their employers.
   11         Further, the dockets in the Central District of California are more congested
   12   relative to those in the Eastern District of Pennsylvania. For example, in the
   13   twelve-month period ending June 30, 2022, judges sitting in the Central District had
   14   significantly more pending cases as their counterparts in the Eastern District of
   15   Pennsylvania. (Request for Judicial Notice (“RJN”), Ex. A.) Thus, as Montoya
   16   presumably wants his day in court, consideration of the courts’ respective dockets
   17   also dictates transfer of this action to the Eastern District of Pennsylvania. See, e.g.,
   18   Ezieme v. Ward Int’l Trading, Inc., 2009 WL 2818394, *10 (C.D. Cal. 2009)
   19   (noting that, in ruling on a motion to transfer, courts may “consider the relative
   20   degrees of congestion between the transferor court’s docket to that of the transferee
   21   court” and granting a motion to transfer based on docket congestion and other
   22   factors). Accordingly, public policy does not require this Court to repudiate the
   23   parties’ forum selection clause, but rather, to enforce it.
   24                2.     California Labor Code §925 Does Not Void The Forum
                            Selection Clause.
   25

   26         Montoya may argue that the forum selection clause is void under California
   27   Labor Code §925, which provides, in pertinent part, as follows:
   28

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    1         (a) An employer shall not require an employee who primarily
              resides and works in California, as a condition of employment, to
    2         agree to a provision that would do either of the following:
    3         (1) Require the employee to adjudicate outside of California a
              claim arising in California.
    4
              (2) Deprive the employee of the substantive protection of
    5         California law with respect to a controversy arising in California.
    6   (emphasis added.)
    7         Any such argument fails because acquiescence to the forum selection clause
    8   was not a condition of Montoya’s employment. (Rosales Decl., ¶ 2-3, Ex. D.) The
    9   GIP was not even presented to Montoya until after he began working for SAP.
   10   (Rosales Decl., ¶¶ 3-5, Ex. D); See, also, RJN, Ex. B, p. 6-7, Elwell v. SAP
   11   America, Inc., et al., Case No. 2:17-cv-08314-GW-AFM, (C.D. Cal. February 2,
   12   2018) (Court found plaintiff’s reliance section 925 misplaced as there was no
   13   evidence that the GIP qualified as a “condition of employment” agreement); RJN,
   14   Ex.C, p. 11, Kutty v. SAP America, Inc., et al., Case No. 5:19-cv-02473-SVK (N.D.
   15   Cal. November 5, 2019) (finding that section 925 did not apply because Plaintiff
   16   was not required to sign the GIP as a condition of employment).
   17         Furthermore, Montoya never raised the issue of the forum selection clause,
   18   never requested to opt out of it, or voiced any concerns whatsoever regarding it.
   19   (Rosales Decl., ¶ 4.) Acceptance of the GIP was not required for Montoya to
   20   remain employed by SAP. (Rosales Decl., ¶¶ 3-4.) The GIP simply provided for
   21   Montoya’s ability to earn incentive payments beyond his base salary. Id. Thus,
   22   any argument that California Labor Code §925 voids the parties’ forum selection
   23   clause necessarily fails, and the Court should enforce the clause.
   24         C.     The Court Should Enforce The Valid Forum Selection Clause.
   25         When the parties’ agreement contains a valid forum selection clause, “the
   26   plaintiff’s choice of forum merits no weight” and courts “should not consider
   27   arguments about the parties’ private interests.” Atl. Marine Constr. Co. Inc. v. U.S.
   28   Dist. Court for W. Dist. of Texas, 571 U.S. 49, 62-63 (2013). Rather, “a district
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    1   court may consider arguments about public-interest factors only.” Id., at 64.
    2   Except in the most exceptional circumstances, public interest factors warrant
    3   enforcement of the forum selection clause.
    4         The enforcement of a valid forum-selection clauses, bargained for by
              the parties, protects their legitimate expectations and furthers vital
    5         interests of the justice system. For this reason, and because the
              overarching consideration under §1404(a) is whether a transfer would
    6         promote the interest of justice, a valid forum-selection clause should
              be given controlling weight in all but the most exceptional
    7         circumstances.
    8   Atl. Marine Constr. Co. Inc. v. U.S. Dist. Court for W. Dist. of Texas, 571 U.S. 49,
    9   62-63 (2013) (internal citations and quotations omitted); see, also, RJN Ex. B,
   10   Elwell, Case No. 2:17-cv-08314-GW-AFM (Court enforced the forum selection
   11   clause in the GIP between plaintiff and defendant, SAP America, Inc., finding that
   12   plaintiff’s arguments were not “nearly enough to establish the ‘rare’ type of
   13   situation that would overcome the parties’ contractually-agreed forum.”) and RJN
   14   Ex. C, Kutty v. SAP America, Inc., et al., Case No. 5:19-cv-02473-SVK (N.D. Cal.
   15   November 5, 2019) (in a single-plaintiff complaint based on the alleged failure to
   16   pay a commission, enforcing the forum selection clause in the GIP between plaintiff
   17   and SAP America, Inc., finding “there is nothing exceptional here which would
   18   warrant disrupting the legitimate expectations of the parties.”).
   19         As the party acting in violation of the forum selection clause, Montoya must
   20   bear the burden of showing that public interest factors overwhelmingly disfavor a
   21   transfer of this action. Id., at 67. Montoya cannot meet this burden. Montoya
   22   brings claims commonly asserted by employees against their employers, and his
   23   claims will likely proceed to trial more expeditiously in the Eastern District of
   24   Pennsylvania than they could in this Court. (RJN, Ex. A.) Accordingly, the Court
   25   should enforce the parties’ forum selection clause.
   26

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    1         D.     This Action, In Its Entirety, Should Be Transferred To The
                     Eastern District Of Pennsylvania.
    2

    3         The forum selection clause in the GIP is expansive and applies to all causes
    4   of action Montoya attempts to plead, regardless of how he characterizes them. It
    5   covers “[a]ny action or proceeding relating to [the GIP], this Addendum and the
    6   overall Revenue Generating Incentive Plan and to any agreement relating to [the
    7   GIP], this Addendum and the overall Revenue Generating Incentive Plan.”
    8   (Rosales Decl., ¶ 3, Ex. A, p. 57 (emphasis added).) Use of “relating to” in a clause
    9   means that the clause is subject to broad interpretation. Robles v. Schneider Nat’l
   10   Carriers, Inc., No. EDCV162482JGBKKX, 2017 WL 8232083, at *3 (C.D. Cal.
   11   Dec. 11, 2017)(the court rejected plaintiff’s argument that the forum selection
   12   clause did not apply his misclassification claim under the California Labor Code
   13   and enforced the parties’ forum selection clause that broadly governed claims
   14   “relating hereto”); Scott v. Lopez, 2013 WL 1182957, *3 (N.D. Cal. 2013) (the
   15   court rejected plaintiff’s argument that the forum selection clause applied only to
   16   claims “directly relating to” the agreement and enforced the parties’ forum selection
   17   clause as to all claims asserted by the plaintiff, including his tort claims). Thus, in
   18   addition to covering claims on the contract, the forum selection clause also applies
   19   to any claim that is “related to the agreement bearing the clause or raises issues that
   20   require analysis thereof.” Zako v. Hamilton Co., 2016 WL 344883, * 4 (N.D. Cal.
   21   2016).
   22         Forum selection clauses plainly apply to the tort and statutory (including the
   23   California Labor Code and California Business & Professions Code) claims
   24   Montoya raises here. Robles, supra; Scott, supra; Manetti-Farrow, Inc. v. Gucci
   25   Am., Inc., 858 F.2d 509, 514 (9th Cir. 1988) (noting that forum selection clauses
   26   “can be equally applicable to … tort causes of action.”); Robles v. Comtrack
   27   Logistics, Inc., 2015 WL 1530510 (E.D. Cal. 2015)(broad “relating to” forum
   28   selection clause applied to California Labor Code claim); Perry v. AT&T Mobility

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    1   LLC, 2011 WL 4080625, at *3 (N.D. Cal. Sep. 12, 2011) (broad “relating to” forum
    2   selection clause applied to California’s Business and Professions Code and Labor
    3   Code claims); see, also, RJN, Ex. B, p. 2, Elwell, Case No. 2:17-cv-08314-GW-
    4   AFM (transferring contract claim and nine California statutory claims related to
    5   alleged non-payment of commissions); RJN, Ex.C, p. 11-12, Kutty, Case No. 5:19-
    6   cv-02473-SVK (transferring contract claim and statutory and tort claims for
    7   discrimination, harassment, fraud, and negligent misrepresentation finding that a
    8   “fair reading” of the plaintiff’s complaint “demonstrates that [p]laintiff’s claims
    9   have a ‘causal connection’ to the non-payment of a substantial commission, one
   10   which Defendant claims is not due under the GIP”).
   11         Montoya’s claims, and all of them, plainly relate to the GIP. As Montoya
   12   was a SAP salesperson, the GIP governed various aspects of his employment,
   13   including, crucially, his commission and other incentive payments. At its heart,
   14   Montoya’s Complaint is a claim for an unpaid commission from the First Solar
   15   deal. Though Montoya cloaks his claims as “Failure to Pay Wages” and “Waiting
   16   Time Penalties” generally, these claims are specifically based on the alleged unpaid
   17   commission from the First Solar Deal. (Compl., ¶¶ 12-20.) Even though he does
   18   not bring a contract claim for the unpaid commission (in an obvious attempt to
   19   avoid the GIP’s provisions), his claims and/or elements of them clearly relate to the
   20   GIP and related documents or require application of the GIP and related
   21   documents’ terms, which governed whether he was entitled to the commission and
   22   earned the commission/ wages. See Oman v. Delta Air Lines, Inc., 9 Cal. 5th 762
   23   (2020) (“The compensation owed employees is a matter determined primarily by
   24   contract.”) This is especially the case since the GIP, on its face, indicates that it,
   25   along with information contained in related documents, “fully govern revenue
   26   generating incentive plans.” (Rosales Decl., ¶ 2, Ex. A, §1, p. 4.)
   27         Further, Montoya’s unfair business practices, wrongful termination, fraud,
   28   and negligent misrepresentation claims allege in essence that SAP employees gave
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    1   him assurances about earning commission on a deal with First Solar, he relied on
    2   the assurances and performed work on the deal, Defendants then denied Montoya
    3   the commission, and Montoya resigned his employment in an alleged
    4   “constructive” discharge. (See, e.g., Compl., ¶¶ 12-20, 59, 69.) Specifically:
    5             • whether Montoya was entitled to receive the commission requires
    6                application of the GIP and related documents’ terms;
    7             • whether it was reasonable for Montoya to rely on any oral statements
    8                about receiving commissions from SAP employees requires
    9                application of the GIP’s terms, including who had authority to modify
   10                incentive payments under the plan;
   11             • whether it was an unfair business practice to determine Montoya did
   12                not earn a commission on the deal requires application of the GIP; and
   13             • whether it was an “intolerable” working condition to not receive the
   14                commission requires consideration of the GIP provisions.
   15   Montoya’s subsidiary claim for failure to allow inspection and copying of records
   16   also “relates to” the GIP because the heart of the dispute and the reason for the
   17   request to inspect records related to the alleged unpaid commission on the First
   18   Solar deal. Thus, his statutory and tort claims clearly “relate to” the GIP given
   19   Montoya’s allegations that he should have received the commission and the failure
   20   to pay the commission constituted constructive discharge. (Compl., ¶¶ 12-20.)
   21         Accordingly, Montoya’s claims, and all of them, are subject to the forum
   22   selection clause. The Court should therefore grant the instant Motion, transferring
   23   the instant action to the Eastern District of Pennsylvania.
   24   IV.   CONCLUSION
   25         For all of the foregoing reasons, Defendants respectfully request that the
   26   Court grant the instant Motion and enter an Order transferring this action, in its
   27   entirety, to the Eastern District of Pennsylvania.
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    1
        Dated: October 26, 2022               DUANE MORRIS LLP
    2

    3                                      By: /s/ Brian L. Johnsrud
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    4                                        Attorneys for Defendants
                                             ARIBA INC. and SAP AMERICA, INC.
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